~AO 245C        (Rev. 09/11)Case   4:11-cr-00212-DPM
                             Amended Judgment in a Criminal Case        Document 148          Filed 09/05/12              Page Identify
                                                                                                                         (NOTE: 1 of 6Changes with Asterisks (*))
                Sheet 1


                                             UNITED STATES DISTRICT COURT
                              Eastern                                     District of                                     Arkansas

           UNITED STATES OF AMERICA
                                 v.
                 EiTimett Smith, Ill a/kla Smack

Date of Original Judgment:                 8/30/2012
(Or Date of Last Amended Judgment)
Reason for Amendment:                                                                                                                                       EPCLERK
0 Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  0 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583 e))
0 Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   0 Modification oflmposed Term oflmprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
0 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              0 Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
                                                                                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
fit Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                   0 Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                        0 18 U.S.C. § 3559(c)(7)
                                                                                   0 Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
~ pleaded guilty to count(s)           _1_o_f_th_e_l_nd_i_ct_m_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
0    pleaded nolo contendere to count(s)
     which was accepted by the court.
0    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                              Offense Ended
 21 U.S.C. §§ 841 (a)(1 ),

 841 (b)(1 )(A) & 846                  Conspiracy to Possess with Intent to Distribute and to
                                Distribute Cocaine, a Class A Felonv                                                   12/31/2009                   1
        The defendant is sentenced as provided in pages 2 through    10                       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)
~ Count(s) 12-13 of the Indictment               0 is ~are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   8/29/2012
                                                                                   Date of Imposition of Judgment


                                                                                   Si?}lBture~adf:
                                                                                   D.P. Marshall Jr.                                U.S. District Judge
                                                                                   Name of Judge                                   Title of Judge


                                                                                   Date
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             Sheet 2 - Imprisonment                                                                  (NOTE: IdentifY Changes with Asterisks (*))

                                                                                                 Judgment- Page _2
                                                                                                                 __ of                   10
  DEFENDANT: Emmett Smith, Ill a/k/a Smack
  CASE NUMBER: 4:11-cr-212-DPM-6

                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of
151 Months



  r;/ The court makes the following recommendations to the Bureau of Prisons:
-that Smith participate in the Bureau of Prisons' Residential Drug Abuse Program (RDAP)
-that Smith be housed, if possible, at the Forrest City, AR facility, or at another facility close to Helena, AR to facilitate family
visitation

  ri/ The defendant is remanded to the custody ofthe United States Marshal.
  0 The defendant shall surrender to the United States Marshal for this district:
      0      at                                      0     a.m    0    p.m.    on
      0      as notified by the United States Marshal.

 0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      0     before 2 p.m. on
      0      as notified by the United States Marshal.

      0     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




      Defendant delivered on
                                    - - - - - - - - - - - - - - - - to
 a t - - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                          By_________________________________________
                                                                                          DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Supervised Release                                                                    (NOTE: Identify Changes with Asterisks(*))

                                                                                                           Judgment-Page    _3__ of              10
 DEFENDANT: Emmett Smith, Ill a/k/a Smack
 CASE NUMBER: 4:11-cr-212-DPM-6
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

5 years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anx unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 r;/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 r;/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the pronation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned b_y the defendant's criminal
          record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defenoant's compliance with such notification requirement.
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                   Case 4:11-cr-00212-DPM                       Document 148         Filed 09/05/12          Page 6 of 6
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             Sheet 6 - Schedule of Payments                                                                 (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: Emmett Smith, Ill a/k/a Smack
CASE NUMBER: 4:11-cr-212-DPM-6

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    lit Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due
           0    not later than - -........ ---=---- , or
           0    in accordance with 0 C,            0   D,       0   E, or    0 Fbelow; or
B    0     Payment to begin immediately (may be combined with               0 C,     0 D, or      0 F below); or
C    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                      over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                  over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lit Special instructions regarding the payment of criminal monetary penalties:
          The Court declines to impose a fine because Smith is unable to pay one and unlikely to become able to pay one.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monet~ Qenalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:



Paytp.ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
